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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION


 JOSHUA HARDY, individually and on behalf of )
 all others similarly situated,              )
                                             )
                                Plaintiff,   )
                                             )
         v.                                  ) Case No. 2:22-cv-00322-PPS-JEM
                                             )
 NISOURCE INC.,                              )
                                             )
                                Defendant.   )
                                             )

          NISOURCE INC.’S REPLY IN SUPPORT OF MOTION TO TRANSFER

        Plaintiff Joshua Hardy’s (“Hardy”) Opposition to Defendant NiSource Inc.’s (“NiSource”)

 Motion to Transfer fails for two reasons.

        First, transfer is plainly required under the Federal Arbitration Act (“FAA”). Hardy fails

 to cite binding case law on transfer. Instead, Hardy relies on out-of-context quotes from motions

 to compel arbitration, out of circuit case law, and misstated holdings. The Seventh Circuit’s

 Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Lauer decision requires Hardy’s challenges to

 arbitration be heard in the Northern District of Oklahoma. See 49 F.3d 323, 327 (7th Cir. 1995).

        Second, Cypress’ bankruptcy proceedings do not affect this result. That is because Hardy’s

 agreement to arbitrate is not an executory contract. Furthermore, even if it were an executory

 contract, Cypress’ rejection of the contract in bankruptcy does not rescind the contract or relieve

 Hardy of his obligation to arbitrate.

        Accordingly, this Court should grant NiSource’s motion and transfer this case to the

 Northern District of Oklahoma.




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 I.     ARGUMENT

        A.      Transfer Is Required Prior To Determining Enforceability

        NiSource filed a motion to transfer, not a motion to compel arbitration. NiSource’s motion

 to transfer is a necessary predicate to compelling arbitration because under Section 4 of the FAA,

 this Court lacks authority to determine that arbitration motion.

        Failing to appreciate this distinction; nearly all of the cases Hardy cites in his opposition

 brief do not discuss transfer under the jurisdictional mandate in Section 4. Rather, Hardy proffers

 out of context quotations from cases determining whether arbitration ultimately should be

 compelled. See CCC Info. Servs., Inc. v. Tractable Inc., No. 18 C 7246, 2019 WL 2011092, at *2

 (N.D. Ill. May 7, 2019) (denying motion to compel arbitration where the defendant entered the

 contract under a false name), aff’d sub nom, 36 F.4th 721 (7th Cir. 2022); O’Connor v. Ford Motor

 Co., No. 19-CV-5045, 2023 WL 130522, at *5-6 (N.D. Ill. Jan. 9, 2023) (granting motions to

 compel arbitration brought by defendant’s affiliates under New Jersey, Texas, and Pennsylvania

 law but denying motions to compel arbitration brought by the defendant’s affiliates under

 Massachusetts law); Auto-Owners Ins. Co. v. Pletcher, No. 3:18-CV-949 JD, 2019 WL 1930231,

 at *1 (N.D. Ind. May 1, 2019) (granting motion to compel arbitration of claims against insurance

 company defendant but denying motion to compel arbitration of claims against that company’s

 employees); DeGroff v. MascoTech Forming Techs.-Fort Wayne, Inc., 179 F. Supp. 2d 896 (N.D.

 Ind. 2001) (granting motion to compel arbitration where plaintiff asserted the contract was one of

 adhesion and unconscionable). Whether Hardy’s arbitration agreement appropriately delegated

 arbitrability questions to the arbitrator, allows NiSource to compel arbitration as a third-party




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 beneficiary, or survives other defenses to arbitration such as unconscionability are for the Northern

 District of Oklahoma to decide following transfer. 1

         The Seventh Circuit confirmed this in Lauer, explaining that Section 4 of the FAA “clearly

 requires a geographic link between the site of the arbitration and the district which, by compelling

 arbitration or directing its scope, exercises preliminary control.” 49 F.3d at 327 (emphasis added).

 Setting aside decisions about arbitrability (such as the scope of any arbitration to be compelled)

 for the court with the power to issue the arbitration order “streamlin[es] the path toward arbitration

 and prevent[s] scattershot attacks in various judicial fora.” Id. at 329. Put differently, in contrast

 to post-arbitration litigation, “pre-arbitration litigation is intended to lead directly to, and to focus

 on, the future arbitration proceeding. It is a path that should narrow, not widen, as the arbitration

 draws nearer.” Id. at 330. This procedure, moreover, does not leave “[the party challenging

 arbitration] without an outlet to challenge what they contend are improper attempts by [the party

 seeking arbitration] to arbitrate nonarbitrable disputes; it merely leaves the decision on those

 challenges [to the specified court].” Id. at 330.

         Other district courts in the Seventh Circuit have concurred that, contrary to Hardy’s

 contrived assertions and supposed distinctions of Lauer otherwise, enforceability questions are for

 the court in the district where arbitration agreed to be held. 2 In Daniels v. Painter, No. 15-CV-



         1
           Thus, NiSource does not waive these issues as Hardy implies. (Dkt. 19 at 4.) But, for
 good measure, NiSource is a third-party beneficiary with whom Hardy expressly agreed to
 arbitrate. Hardy’s October 2021 Employment Agreement—which Hardy concedes is the
 controlling agreement in this case (Dkt. 19 at 1 n.1)—provides that Cypress’ customers such as
 NiSource are third-party beneficiaries of the agreement, and that arbitration is required for claims
 where those customers such as NiSource are named as the defendant. (Dkt. 16-1 at 18-19, ¶¶ 3-
 4.) Because NiSource is a third-party beneficiary of Hardy’s employment agreement, and Hardy
 agreed to arbitrate his claims against it, Hardy’s sideshow on enforceability is, at the end of the
 day, a disingenuous red herring.
         2
           Hardy takes issue with the fact that Lauer did not involve a third-party beneficiary
 enforcing an arbitration agreement. (Dkt. 19 at 9.) This is surprising as earlier in his brief, he


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 1334, 2016 WL 3034246 (E.D. Wis. May 27, 2016), the plaintiffs expressly challenged the scope

 of the arbitration clause in the parties’ agreement and argued that it was unenforceable as applied

 to the claims at issue in the case. Id. at *5. Yet the court in Daniels still transferred the case to the

 Central District of California, where the arbitration was contractually bound to occur, for that court

 to determine whether the arbitration agreement was enforceable. Id. at *5. Similarly here, the

 Court should transfer the case to the Northern District of Oklahoma to evaluate Hardy’s

 enforceability challenges. 3

         Hardy brushes aside Gundrum v. Cleveland Integrity Servs., Inc., No. 16-CV-369-WMC,

 2017 WL 414491 (W.D. Wis. Jan. 31, 2017) in a footnote. That was a curious choice; Gundrum

 is directly on point. The plaintiffs there similarly tried to argue that Lauer and Daniels were

 distinguishable because the parties in those cases did not dispute the validity of the forum selection

 clauses. Id. at *2. The court declined to accept that argument and found that the dispute over the

 scope and enforceability of the parties’ arbitration agreement “bring this case in line with Lauer”

 regardless of whether the forum selection clause was also challenged. Id. at *4. Accordingly, the

 court transferred the case to the Northern District of Oklahoma, where arbitration was

 contractually bound to occur. Id. at *6. So too here.




 reminds the court that third party beneficiaries have the same rights as the contracting parties. Id.
 at 5. Regardless, Lauer makes clear that the Northern District of Oklahoma is perfectly able to
 address whether NiSource can compel arbitration as a third-party beneficiary. Lauer also makes
 clear that it does not matter if there were “extensive prehearing activities prior to the initiation of
 the lawsuit” (Dkt. 19 at 9) as Hardy claims. Lauer, 49 F.3d at 327 (“[T]his Circuit has concluded
 that where the arbitration agreement contains a forum selection clause, only the district court in
 that forum can issue a § 4 order compelling arbitration.”); see also Daniels, 2016 WL 3034246, at
 *5 (transferring pursuant to § 4 at onset of litigation); Gundrum, 2017 WL 414491 at *6 (same).
         3
            Notably, Daniels does not discuss at all whether the result turned on the defendant’s
 decision to file separate lawsuit in the Central District of California seeking arbitration after the
 plaintiff filed in the Eastern District of Wisconsin. Hardy’s request to establish that rule should be
 ignored where in Gundrum a second lawsuit was not filed.


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         Only the Northern District of Oklahoma has the power to compel arbitration or rule on the

 enforceability of the arbitration agreement. Hardy fails to cite a single case that is binding on this

 Court stating differently.4 This Court should adhere to the Seventh Circuit’s binding precedent in

 Lauer and transfer this case to the Northern District of Oklahoma, the proper forum for Hardy’s

 challenges to arbitrability.

         B.      Cypress’ Bankruptcy Is Irrelevant

         Hardy’s second argument is that Cypress’ bankruptcy changes the mandate from the

 Seventh Circuit to transfer this case. Not so. Cypress’ bankruptcy is irrelevant to the arbitration

 agreement’s enforceability, two-fold. First, Hardy’s employment agreement is not an executory

 contract as Hardy claims in his opposition brief. Second, even if it were such a contract, Cypress’

 rejection of the contract in bankruptcy does not rescind the contract or relieve Hardy of his

 obligation to arbitrate.

                 1.         Hardy’s employment agreement is not an executory contract.

         Hardy asserts that Cypress’ bankruptcy “impact[s] his employment agreement with

 Cypress and precludes the enforcement that NiSource seeks.” Hardy’s proposition is misplaced,

 as there is no impact because the employment agreement is not an executory contract.

         During bankruptcy proceedings, a trustee may choose to assume or reject any of the

 debtor’s executory contracts. 11 U.S.C. § 365(a). Assumption requires the trustee to continue




         4
          For example, Textile Unlimited, Inc. v. A..BMH and Co., Inc., 240 F.3d 781, 785-786 (9th
 Cir. 2001) addressed Section 4 in relation to a motion to enjoin arbitration, not compel arbitration,
 and took a narrow view on the mandatory language in Section 4. Likewise, Maronian v. Am.
 Commc’ncs Network, Inc., No. 07-CV-6314(CJS), 2008 WL 141753, at *6 (W.D.N.Y. Jan. 14,
 2008) determined that Section 4 should be permissively construed. The Seventh Circuit rejects
 that approach. Hardy’s only case from this Circuit is also inapposite. In Bahoord v. Varonis Sys.,
 Inc., 152 F. Supp. 3d 1091 (N.D. Ill. 2015), the defendant brought a motion to compel arbitration
 instead of a motion to transfer.


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 performing under the contract, while rejection constitutes a breach of the contract. Id. at §

 365(g)(1). Non-executory contracts, on the other hand, cannot be assumed or rejected. They

 survive bankruptcy and bind the trustee to continued performance. See Matter of Chicago, R. I. &

 P. R. Co., 604 F.2d 1002, 1004 (7th Cir. 1979) (denying rejection of non-executory contract).

        An executory contract is one where “significant unperformed obligations remain on both

 sides.” Dick ex rel. Amended Hilbert Residence Maint. Tr. v. Conseco, Inc., 458 F.3d 573, 577

 (7th Cir. 2006) (quoting In re Streets & Beard Farm P’ship, 882 F.2d 233, 235 (7th Cir. 1989)).

 The Seventh Circuit has interpreted this to encompass only contracts where “each party is

 burdened with obligations which if not performed would amount to a material breach.” Id. at 578

 (finding that a former employee could not materially breach his employment agreement when no

 longer employed and thus it was not an executory contract for bankruptcy purposes).

        Applying the analysis to employment contracts, an employment contract is an executory

 contract while the employee is performing work for the employer, but ceases to be an executory

 contract when the employment relationship ends as the former employee can no longer materially

 breach. See id.; In re Hawes, 73 B.R. 584, 586 (Bankr. E.D. Wis. 1987) (finding employment

 contract is not an executory contract when the employee is no longer performing services for the

 employer and determining bankruptcy did not impact the question of whether the restrictive

 covenants in the employment contract were enforceable). Moreover, arbitration agreements in

 non-executory contracts are enforceable post-bankruptcy. Mines v. Galaxy Int’l Purchasing, LLC,

 No. 1:17-CV-04746-RLY-DLP, 2019 WL 1318277, at *13 (S.D. Ind. Mar. 6, 2019) (granting

 motion to compel arbitration in class action lawsuit because arbitration agreement was not an

 executory contract), report and recommendation adopted, No. 1:17-CV-04746-RLY-DLP, 2019

 WL 1317622 (S.D. Ind. Mar. 22, 2019)); see also Hays & Co. v. Merrill Lynch, Pierce, Fenner &




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 Smith, Inc., 885 F.2d 1149, 1153-54 (3d Cir. 1989) (determining that pre-bankruptcy arbitration

 agreements in non-executory contracts binding).

        Here, Hardy’s most recent engagement with Cypress ended in January 2022. (Dkt. 16-1 at

 3 ¶ 18.) Cypress filed for bankruptcy on May 8, 2022, several months after Hardy’s Employment

 Agreement ceased being an executory contract. (Dkt. 19-1 at 3; Doc. 19-5 at 2.) Hardy is still

 bound to the arbitration agreement within his employment agreement regardless of Cypress’

 bankruptcy because it is not an executory contract.

                2.      Hardy’s arbitration agreement survives bankruptcy even if his employment
                        agreement is executory.

        Even if Hardy’s employment agreement were an executory contract, the rejection in

 bankruptcy does not rescind the contract or void the arbitration agreement therein.

        As the Supreme Court held in Mission Prod. Holdings, Inc. v. Tempnology, LLC, a

 rejection of a contract in bankruptcy does not constitute a rescission of the contract, and all rights

 that would ordinarily survive a breach remain in force. 139 S. Ct. 1652, 1657-58 (2019). That

 includes any arbitration agreements governing the now-breached contract. In re Paragon Offshore

 PLC, 588 B.R. 735, 749 (Bankr. D. Del. 2018) (stating that “the Court cannot now erase the

 contractual obligations the parties have agreed to . . . at least as it relates to the Arbitration

 Provision” in a rejected executory contract); In re Bateman, 585 B.R. 618, 626 (Bankr. M.D. Fla.

 2018) (finding that rejection does not void an arbitration agreement just as a normal breach would

 not terminate an arbitration agreement contained in the breached contract), aff’d, No. 8:14-BK-

 5369-RCT, 2019 WL 4644385 (M.D. Fla. Sept. 24, 2019). 5



        5
         Hardy’s citation to Bonzani v. Goshen Health Sys., Inc. has no bearing on this case. In
 Bonzani, the plaintiff sought a declaratory judgment claiming his separation agreement was
 unenforceable due to a breach by his former employers. 459 F. Supp. 3d 1139, 1151 (N.D. Ind.
 2020). That separation agreement did not even contain an arbitration clause. Id. at 1150. This


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         Here, assuming, arguendo, the employment agreement was an executory contract, rejection

 of Hardy’s employment agreement does not excuse him from arbitration under that agreement.

 For example, parties who have contractually agreed to arbitrate are regularly bound to arbitrate

 breach of contract claims. See, e.g., Gore v. Alltel Commc’ns, LLC, 666 F.3d 1027 (7th Cir. 2012)

 (compelling arbitration of breach of contract claims); Mengers v. Gulf Stream Coach Inc., 136 F.

 Supp. 3d 1006 (N.D. Ind. 2015) (same). Thus, Hardy’s contention that a prior material breach

 invalidates an arbitration clause is illogical. “The central purpose of an arbitration provision is to

 resolve claims of breach of contract. If a party could avoid arbitration simply by arguing that the

 other party had breached the contract, few arbitration provisions would ever be enforced.” OCMC,

 Inc. v. Billing Concepts, Inc., No. 1:05-CV-1396-DFHTAB, 2006 WL 1234884, at *5 (S.D. Ind.

 May 3, 2006) (citing Sweet Dreams Unlimited, Inc. v. Dial-A-Mattress Int’l, Ltd., 1 F.3d 639, 642

 (7th Cir. 1993)). 6

         Thus, regardless of whether or not Hardy’s employment agreement is an executory

 contract, the arbitration agreement contained therein survives bankruptcy. By its terms, Hardy is




 prior material breach principle only precludes enforcement of an arbitration agreement where the
 party seeking to compel arbitration has breached the arbitration agreement itself by refusing to
 arbitrate under its terms. Murphy v. Indiana Fin. Co., No. 3:19-CV-270 RLM-MGG, 2020 WL
 1452095 (N.D. Ind. Mar. 25, 2020) (finding that the defendant breached the arbitration agreement
 by refusing to arbitrate with the arbitrator plaintiff selected as allowed by the terms of the
 agreement, and thus the defendant could not seek to compel arbitration with its preferred
 arbitrator).
         6
           The other cases Hardy cites are similarly distinguishable. Hardy’s out of context quote
 aside, Williams v. Kemper Corp. actually grants a motion to compel arbitration (under Missouri
 law). No. 3:21-CV-1341-NJR, 2022 WL 2192864, at *4-5 (S.D. Ill. June 17, 2022). In re Highland
 Cap. Mgmt., L.P., deals with an arbitration agreement in a limited partnership agreement, not an
 employment agreement under which performance was completed pre-bankruptcy petition. No.
 19-34054-SGJ11, 2021 WL 5769320 (Bankr. N.D. Tex. Dec. 3, 2021). And, Janvey v. Alguire’s
 arbitration agreements were contained in promissory notes and other financial documents
 indicating continuing obligations on the part of both parties to the contracts, which are not
 comparable to Hardy’s completed employment agreement. 847 F.3d 231, 237 (5th Cir. 2017).


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 bound to arbitrate his claims against NiSource.

 II.    CONCLUSION

        For the reasons stated above, this Court should grant NiSource’s Motion to Transfer and

 issue an order transferring this case to the Northern District of Oklahoma.



  Dated: February 10, 2023                         Respectfully submitted,

                                                   / s / Bianca V. Black
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 10th day of February 2023, I filed a copy of the foregoing

  electronically using the Court’s CM/ECF system, which will send notice of this filing to:

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                                                      /s/ Bianca V. Black
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